 Case 2:14-cv-00089-R-AFM Document 34 Filed 07/13/15 Page 1 of 2 Page ID #:437




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9                         UNITED STATES DISTRICT COURT
10                      CENTRAL DISTRICT OF CALIFORNIA
11                               WESTERN DIVISION
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13   JAE YUNG KIM,                            Case No. CV 14-89-R (CW)
14              Petitioner,
                                              [PROPOSED] ORDER GRANTING
15        v.                                  PETITIONER’S APPLICATION TO
                                              FILE UNDER SEAL
16   A.M. GONZALES,
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                Respondent.
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 Case 2:14-cv-00089-R-AFM Document 34 Filed 07/13/15 Page 2 of 2 Page ID #:438




1          GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED THAT:
2    Petitioner Jae Yung Kim’s Application to file his Supplemental Opposition to
3    Respondent’s Motion to Dismiss Petition for Writ of Habeas Corpus (“Supplemental
4    Opposition”) and exhibits under seal is now granted. The following documents shall be
5    filed or lodged under seal:
6             x Petitioner’s Supplemental Opposition
7             x Exhibit 4, Declaration of Ellen Turlington, 07/08/2015
8             x Exhibit 5, Declaration of David P. Elder, 06/30/2015
9             x Exhibit 6, Declaration of Alane Mabaquiao, 07/07/2015
10            x Exhibit 7, Billing Invoice, 09/23/2005
11
12         It IS SO ORDERED
13
14               07/13/2015
     DATED:
15                                              HONORABLE CARLA WOEHRLE
                                                United States Magistrate Judge
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17   Presented by:

18
     /s/ Jelani J. Lindsey
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     JELANI J. LINDSEY
20   Deputy Federal Public Defender
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